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 1                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 2
 3      UNITED STATES OF AMERICA,
 4                                                                Case No. CR08-5125BHS
                                 Plaintiff,
 5                                                                INITIAL ORDER RE:
                          v.                                      ALLEGATIONS OF
 6                                                                VIOLATION OF
        ULISES BARRAGAN MENDOZA,                                  CONDITIONS OF
 7                                                                SUPERVISION
                                 Defendant.
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10              THIS MATTER comes on for an initial hearing on the Petition of the United States Probation
                Office alleging that the defendant has violated the conditions of supervision.
11              The plaintiff appears through Assistant United States Attorney, Matt Thomas.
12              The defendant appears personally and represented by counsel, Lee Colvell.
13              The U.S. Probation Office has filed a petition alleging violations of the terms and conditions of
14              supervision, and the defendant having been advised of the allegation admits the violation.

15              The court finds probable cause with regard to the violation, accepts the admission and schedules
                a disposition hearing to be held at the time and date below set forth before Judge Benjamin H.
16              Settle:

17                             Date of hearing: Tuesday, March 8, 2011

18                             Time of hearing: 1:30pm

19              IT IS ORDERED that the defendant:

20              ( ) Be released on an appearance bond, subject to the terms and conditions set forth thereon.

21              (X) Be detained for failing to show that he/she will not flee or pose a danger to any other
                person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
22              by the court for further proceedings.

23           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
     defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
24   Office.

25                                                          February 25, 2011

26                                                            s/Karen L. Strombom
                                                            US Magistrate Judge Karen L. Strombom
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     ORDER
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